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 8 Attorneys for Defendant

 9
                                   UNITED STATES DISTRICT COURT
10
                                           DISTRICT OF NEVADA
11

12   JAY PROPES,                                     )
                                                     )   Case No.: 2:21-cv-00485-WGC
13          Plaintiff,                               )
                                                     )   STIPULATION TO VOLUNTARY
14                  v.                               )   REMAND PURSUANT TO SENTENCE
                                                     )   FOUR OF 42 U.S.C. § 405(g) AND TO
15   KILOLO KIJAKAZI,                                )   ENTRY OF JUDGMENT FOR
     Acting Commissioner of Social Security,         )   PLAINTIFF
16                                                   )
            Defendant.                               )
17                                                   )
                                                     )
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            IT IS HEREBY STIPULATED by and between the parties, through their undersigned
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     attorneys, and with the approval of the Court, that this action be remanded for further administrative
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     action pursuant to the Social Security Act § 205(g), as amended, 42 U.S.C. § 405(g), sentence four.
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            On remand, the Appeals Council will remand the case to an administrative law judge (ALJ) for
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     a new decision.
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     //
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     //
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 1          The parties further request that the Clerk of the Court be directed to enter a final judgment in

 2 favor of Plaintiff, and against Defendant, reversing the final decision of the Commissioner.

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 4 Dated: December 2, 2021                        Respectfully submitted,

 5                                                ROHFLING & KALAGIAN, LLP
 6                                                /s/ Marc V. Kalagian
                                                  MARC V. KALAGIAN
 7                                                (*as authorized via email on December 1, 2021)
                                                  Attorney for Plaintiff
 8

 9
     Dated: December 2, 2021                      Respectfully submitted,
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                                                  CHRISTOPHER CHIOU
11                                                Acting United States Attorney
12                                                /s/ Allison J. Cheung
                                                  ALLISON J. CHEUNG
13                                                Special Assistant United States Attorney
                                                  Attorneys for Defendant
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                                                            IT IS SO ORDERED:
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19                                                          HON. WILLIAM G. COBB
                                                            UNITED STATES MAGISTRATE JUDGE
20

21                                                                    December 3, 2021
                                                            DATED: ___________________________
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